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                           UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MASSACHUSETTS

    SVITLANA DOE, et al.,

                                Plaintiffs,

          – versus –                                      Civil Action No.: 1:25-cv-10495-IT
    KRISTI NOEM, in her official capacity as Secretary
    of Homeland Security, et al.,

                                Defendants.

     PLAINTIFFS’ NOTICE OF DEFENDANTS’ ACTIONS REGARDING “NOTICE OF
         PAROLE TERMINATION” SENT TO PAROLEES & NON-PAROLEES

          Plaintiffs respectfully submit this notice to alert the Court of two recent developments

germane to the pending motions for class-wide preliminary relief.

          Last week, Defendants continued sending the “Notice of Termination of Parole” message

(Doc. No. 83-1) en masse to an unknown number of parolees. Plaintiffs’ counsel became aware

that this message was sent to at least some OAW parolees in addition to some parolees who entered

through the CBP One app,1 but otherwise do not know which parolees received it. The messages

appear identical except that some say that “DHS is now exercising its discretion to terminate your

parole immediately,”2 rather than in 7 days, see, e.g., Doc. No. 83-1, and both versions warn of the

consequences “[i]f you do not depart the United States immediately” (emphasis in original). At

least two sets of these termination notices have been sent (via email and/or text) since April 5,

when Defendants acknowledged that this message had been sent to an unknown number of Uniting

for Ukraine (“U4U”) parolees in error. See Doc. No. 86. In addition to current parolees, including


1
  See generally American Immigration Council, CBP One: An Overview (Mar. 25, 2025),
www.americanimmigrationcouncil.org/research/cbp-one-overview.
2
  See, e.g., Joel Rose & Sergio Martínez-Beltrán, Migrants Who Entered the U.S. via CBP One
App Should Leave ‘Immediately,’ DHS Says, Nat’l Pub. Radio, Apr. 8, 2025, www.npr.org/g-s1-
58984.
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current OAW parolees, Defendants sent at least some of these termination notices to an unknown

number of people who are not parolees, including naturalized and native-born U.S. citizens and

noncitizens with green cards, visas, or Deferred Action for Childhood Arrivals (“DACA”).3

Plaintiffs respectfully note it was also reported last week that engineers with the so-called

Department of Government Efficiency (“DOGE”) are “now embedded at DHS” and “are providing

the technical infrastructure for a sweeping set of actions aimed at revoking parole.”4

          Additionally, on Friday, April 11, the Department of Homeland Security (“DHS”)

Assistant Secretary of Public Affairs stated that Secretary of Homeland Security Kristi Noem had

“determined that Afghanistan no longer continues to meet the statutory requirements for its TPS5

designation and so she terminated TPS for Afghanistan.”6 TPS for Afghans will therefore end in

approximately five weeks, on May 20.



    Dated: April 13, 2025                            Respectfully submitted,

                                                     /s/ Esther H. Sung
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    Laura Shores (pro hac vice)                      Karen C. Tumlin (pro hac vice)
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3
  See, e.g., Dan Gooding, US Citizen Told by Trump Admin to Self-Deport Amid Crackdown,
Newsweek, Apr. 12, 2025, www.newsweek.com/us-citizen-told-self-deport-dhs-email-trump-
administration-2059069; “Unforgivable error”: Citizens & Residents Receive Cancellation Notice
of Parole and Order to Leave the U.S., CiberCuba, Apr. 11, 2025, en.cibercuba.com/noticias/2025-
04-11-u1-e129488-s27061-nid300762-error-imperdonable-ciudadanos-residentes-reciben.
4
  Sophia Cai, Inside the DOGE Immigration Task Force, Politico, Apr. 11, 2025, politi.co/42tPExI.
5
  A country may be designated for Temporary Protected Status (“TPS”) by the Department of
Homeland Security when conditions in that country are such that its nationals are unable to
return safely, or the country cannot adequately handle the return of its nationals.
6
  Juliana Kim, Trump Administration Ends Temporary Protected Status for Thousands of Afghans,
Nat’l Pub. Radio, Apr. 11, 2025, www.npr.org/g-s1-59939.


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                                   CERTIFICATE OF SERVICE
I, Esther H. Sung, hereby certify that this document filed through the ECF system will be sent
electronically to the registered participants as identified on the Notice of Electronic Filing (NEF).

Dated: April 13, 2025

                                              /s/ Esther H. Sung
                                              Esther H. Sung




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